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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1007V
                                     Filed: February 2, 2017
                                           Unpublished

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JANE ROCHA-DEMELO,                      *
                                        *
                    Petitioner,         *      Ruling on Entitlement; Concession;
v.                                      *      Influenza (“Flu”) Vaccine; Shoulder
                                        *      Injury Related to Vaccine Administration
SECRETARY OF HEALTH                     *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                     *      (“SPU”)
                                        *
                    Respondent.         *
                                        *
****************************
Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Colleen C. Hartley, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

         On August 15, 2016, Jane Rocha-Demelo (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration (“SIRVA”) as a result of receiving an influenza
(“flu”) vaccination on November 1, 2014. Petition at 1. The case was assigned to the
Special Processing Unit (“SPU”) of the Office of Special Masters.

        On February 2, 2017, respondent filed a Rule 4(c) Report conceding that
petitioner is entitled to compensation. Rule 4(c) Rep. at 2. Based on his evaluation of
the evidence, respondent concluded that petitioner’s alleged injury is consistent with a
SIRVA, and that it was caused in fact by the flu vaccine she received on November 1,
2014. Id. at 6. Respondent did not identify any other causes for petitioner’s SIRVA,
and petitioner’s records demonstrate that she suffered residuals of her condition for

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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more than six months. Id. Therefore, based on the record as it now stands, petitioner
has satisfied all legal prerequisites for compensation under the Vaccine Act. Id. at 7.

     In view of respondent’s concession and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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